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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,                    )
                                                 )
               Plaintiffs,                       )
                                                 )
vs.                                              )
                                                       No. 1:17-cv-00365-LY
                                                 )
GRANDE COMMUNICATIONS                            )
NETWORKS LLC,                                    )
                                                 )
               Defendant.
                                                 )


 FOURTH ADVISORY IN RESPONSE TO THE COURT’S AUGUST 16, 2018 ORDER

       Pursuant to the Court’s August 16, 2018 Order, Grande Communications Networks LLC

(“Grande”) submits this fourth status update regarding the parties’ efforts to reach an agreement

on Grande’s requests for financial information concerning revenues generated by the works at

issue in this case. See ECF No. 139 at 1-2. In short, Grande is still waiting for Plaintiffs to

provide a substantive response to Grande’s proposal for resolving this issue.

       On August 27th, following a previous meet and confer by telephone, Grande provided a

specific proposal for Plaintiffs’ consideration (the broad outlines of which were also discussed in

the August 16th hearing before the Court). Under this proposal, Plaintiffs would provide sworn

statements regarding per-download and per-stream royalties paid to Plaintiffs by certain online

music services over 2014-2018, and streaming counts, download revenues, and synchronization

licensing revenues over that same period for 20 songs selected by Grande.

       At the time, Plaintiffs advised that they needed more time to consider the proposal, and

so Grande filed a first status update indicating that the parties would provide a further report by

August 31st. See ECF No. 149. On August 31st, Plaintiffs advised that they were still




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considering Grande’s proposal, and that they expected to be able to provide a response the next

week. Grande then filed a second status report so indicating. See ECF No. 160.

       In a meet and confer by telephone on September 6th, Plaintiffs advised that they needed

yet more time to respond to Grande’s proposal, although they were optimistic the parties will be

able to reach an agreement. In the interim, Plaintiffs canceled the Rule 30(b)(6) depositions of

certain corporate designees whose testimony may be impacted by the requested information, on

grounds that they are unwilling to produce the witnesses a second time when this issue is

resolved. Plaintiffs did not provide a date certain by which they would be able to respond with

agreement or a counter-proposal, but they indicated this week was possible. Grande then filed a

third status report so indicating. See ECF No. 168.

       This week, Plaintiffs informed Grande that they need yet more time to consider and

respond to Grande’s proposal. Plaintiffs have not provided a date certain by which they will be

able to respond with agreement or a counter-proposal.

       Grande will provide a further report by September 21, 2018, or as soon as the issue is

resolved or the parties reach an impasse, whichever is earlier.




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Dated: September 14, 2018.


                                           By: /s/ Richard L. Brophy
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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on September 14, 2018, all counsel of record who are

deemed to have consented to electronic service are being served with a copy of this document via

the Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).



                                                   /s/ Richard L. Brophy
                                                   Richard L. Brophy




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